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     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                              UNITED STATES DISTRICT COURT

11                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. Q2 ~ M O ~ ~ 4 ~ 4
                                                   1     V
13                 Plaintiff,                 GOVERNMENT'S NOTICE OF REQUEST FOR
                                              DETENTION
14                     v.

15   HEON-CHEOL CHI,

16             Defendant.

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18        Plaintiff, United States of America, by and through its counsel

19   of record, hereby requests detention of defendant and gives notice of

20   the following material factors:

21       1.    Temporary 10-day Detention Requested (§ 3142(d)) on the

22             following grounds:

23            a.      present offense committed while defendant was on release

24                    pending (felony trial),

25       ❑    b.     defendant is an alien not lawfully admitted for

26                   permanent residence; and

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 1       ❑    c.    defendant may flee; or

 2       ❑    d.    pose a danger to another or the community.

 3       2.    Pretrial Detention Requested (~ 3142(e)) because no

 4             condition or combination of conditions will reasonably

 5             assure:

 6             a.    the appearance of the defendant as required;

 7             b.    safety of any other person and the community.

 8   ❑   3.    Detention Requested Pending Supervised Release/Probation

 9             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

10             § 3143(a))

11             a.    defendant cannot establish by clear and convincing

12                   evidence that he/she will not pose a danger to any

13                   other person or to the community;

14       ❑     b.    defendant cannot establish by clear and convincing

15                   evidence that he/she will not flee.

16       4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

17             § 3142(e))

18            a.    Title 21 or Maritime Drug Law Enforcement Act ("MDLEA")

19                  (46 U.S.C. App. 1901 et seq.) offense with 10-year or

20                  greater maximum penalty (presumption of danger to

21                  community and flight risk);

22       ❑    b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or

23                  2332b(g)(5)(B) with 10-year or greater maximum penalty

24                  (presumption of danger to community and flight risk);

25       ❑    c.    offense involving a minor victim under 18 U.S.C.

26                  §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

27                  2251A, 2252(a)(1) - (a)(3) , 2252A(a) (1)-2252A(a)(4) ,

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 1                 2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                 to community and flight risk);

 3            d.   defendant currently charged with an offense described

 4                 in paragraph 5a - 5e below, AND defendant was

 5                 previously convicted of an offense described in

 6                 paragraph 5a - 5e below (whether Federal or

 7                 State/local), AND that previous offense was committed

 8                 while defendant was on release pending trial, AND the

 9                 current offense was committed within five years of

10                 conviction or release from prison on the above-

11                 described previous conviction (presumption of danger to

12                 community).

13      5.   Government Is Entitled to Detention Hearing Under § 3142(f)

14           If the Case Involves:

15      ❑    a.    a crime of violence (as defined in 18 U.S.C.

16                 ~ 3156(a)(4)) or Federal crime of terrorism (as defined

17                 in 18 U.S.C. § 2332b(g)(5)(B)) for which maximum

18                 sentence is 10 years' imprisonment or more;

19     ❑     b.    an offense for which maximum sentence is life

20                 imprisonment or death;

21           c.    Title 21 or MDLEA offense for which maximum sentence is

22                 10 years' imprisonment or more;

23     ❑     d.    any felony if defendant has two or more convictions for

24                 a crime set forth in a-c above or for an offense under

25                 state or local law that would qualify under a, b, or c

26                 if federal jurisdiction were present, or a combination

27                 or such offenses;

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 1          ❑    e.   any felony not otherwise a crime of violence that

 2                    involves a minor victim or the possession or use of a

 3                    firearm or destructive device (as defined in 18 U.S.C.

 4                    § 921), or any other dangerous weapon, or involves a

 5                    failure to register under 18 U.S.C. § 2250;

 6               f.   serious risk defendant will flee;

 7          ❑    g.   serious risk defendant will (obstruct or attempt to

 8                    obstruct justice) or (threaten, injure, or intimidate

 9                    prospective witness or juror, or attempt to do so).

10          6.   Government requests continuance of              days for detention

11               hearing under § 3142(f) and based upon the following

12               reason(s):

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 1   ❑   7.    Good cause for continuance in excess of three days exists in

 2             that:

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 8   Dated: December 9, 2016              Respectfully submitted,

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